Case 8:25-cy201 TBI 2 C Teds Filed 05/09/25 Page lof 2
Case 8:25 J bilg - Wy Gnil1-3 Filed 04/25/25 Page 1 of 2

Rev, 1/91

U.S. Office of Personnel Management NOTIFICATION OF PERSONNEL ACTION
1, Name (Last, First, Middte) 2 Social Security Number | 3. Date of Birth 4. Effective Date
HARRIS, BEVERLEY M. XXX-XX-XXXX 12-30-1948 01-21-2011
FIRST ACTION SECOND ACTION
5-A. Code 5-B, Nature of Action 6&A. Code 6-B, Nature of Action
460 LWOP NTE 21-JUL-2011
§-C, Code 5-D, Legal Authority $C. Code 6-D. Legal Authority
DAM Reg 630.101 .
$-E, Code 5-F. Legal Authority 6-E, Code 6-F, Legal Authority
7. FROM: Position Title and Number 15. TO: Position Title and Number
CONTRACT SPECIALIST | |
196316 - 2110689
&.Pay Plan |9.Oce.Code f0,Grade/Level |11.Step/Rate [12 Tote) Salary 13. Pay Bosis . B16. Pay Plyn = 17,0ce.Code = 18 Grade/Level 19.Step/Rete 20. Total Salary/Awerd 21. Pay Basis
Gs 1102 12 05 $68,310.00 PA
12A. Basic Pay 12B. Lacality Adj. 12€, Adj. Basic Pay 12D. Other Pay 210A. Basic Pay 20B. Locality Adj. 20C. Adj. Basic Pay 20D. Other Pay
$68,310.00 $0.00 $68,310.00
14, Name and Location of Position's Organization 22, Name and Location of Position's Organization
ARCENT, KUWAIT
COMMAND GROUP
APO AE 09889-9900
EMPLOYEE DATA
23, Veterans Preference 24. Tenure 25. Agency Use 26. Veterans Preference for RIF
- Rone 2 19.PolauDinat $~ 10-PolnvOtker Q- None 2+Condideanl => J
4 Sake i tpeieangscea 6 + 10-PoinvCompemabid 0% 2 t-Percenens 3 Indefinite | X | YES: NO
+ I nultant Indicator 29. Pay Rate Determinant
CO | Basic only 9 | Applicable 0 |
30, Retirement Plan 31. Service Comp, Date (Leave) 32. Work Schedule 33. Part-Time Hours Per
|. Biweekly
K_ | FERS and FICA 10-13-1999 F {Full-Time Stra
POSITION DATA
34. Position Occupied 35. FLSA Category 36. Appropriation Code 37. Bargaining Unit Status
= Campatitive Service 3-SES Genctal re E- Exees
1 iecieeus Serle 4+ SES Carece Reserved E Ne Relea 199999999999 | T1T7
38. Duty Station Code 39. Duty Station (City - County - State or Overseas Location)
KU6000000 URAYFIJAN / KUWAIT
40, Agency Data 41, | 42. | 43, 44.
MNM PON# FA TDA DATA 3A/W47TAA/9999/999 sages
45. Remarks
Forwarding address: 26303 Watercypress Court Cypress, TX 77433. le y: ie
Reason for placement in nonpay status: Returned to United States. . ie

RPA#: LIMAYOFHARCE0X064260. - ‘ i kf CE WED
Service credit for retirement, reduction-in-force, and leave accrual purposes continues for up to a maximum of 6 months in nonpay status Vv iy

per calendar year. ~ W
Sr

FEGLI coverage continues until your time in nonpay/status totals 12 months\Contact your servicing Human Resources Office or see the
FEGLI Handbook at http:/Avww.opm.gov/insure for detailed information.

46. Employing Department or Agency 50. Signature/Authentication and Title of Approving Official
U.S. Army Central (AR3A)

47. Agency Code 48. Personnel Office 1D 49, Approval Date Monique N. Morgan
AR3A 4170 05-05-2011 HUMAN RESOURCES ASSISTANT
5-Part 50-316 Editions Prior ta 7/91 Are Not Usable After 6/30/93
TURN OVER FOR IMPORTANT INFORMATION NSN 7540-01-333-6238

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Case 8:25-cv-01511-LKG Document1-2 Filed 05/09/25 Page 2 of 2
Case 8:25-cv-01339-GLS .., »ROCUMENE 13. «Filed 04/25/25 Rage: 2. of 20

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